           Case 1:18-cr-00056-DAD-SKO Document 67 Filed 07/09/19 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8
                         UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          Case No. 1:18-cr-00056-LJO-SAB

12                  Plaintiff,                          ORDER DISCHARGING ORDER TO
                                                        SHOW CAUSE, IMPOSING SANCTIONS,
13          v.                                          AND REQUIRING DEFENDANT TO PAY
                                                        INTERPRETER COSTS
14   PARAMJIT SINGH MANGAT,
                                                        FIVE DAY DEADLINE
15                  Defendant.

16

17          On June 20, 2019, Defendant Paramjit Singh Mangat filed a motion for bail review.

18 (ECF No. 58.) An amended motion was filed on this same date. (ECF No. 59.) The matter was

19 set on calendar for June 24, 2019, at 2:00 p.m. On June 24, 2019, at 1:55 p.m., Defendant filed a
20 waiver of personal appearance for the hearing. (ECF No. 60.) Due to the delay in filing the

21 waiver of personal appearance, the Court had incurred the costs of $147.00 for providing an

22 interpreter for the June 24, 2019 hearing. On June 25, 2019, an order issued requiring Defendant

23 to show cause why sanctions should not issue requiring him to pay the costs of the interpreter

24 due to the failure to timely notify the Court that the interpreter was not needed. (ECF No. 62.)

25 Defendant was required to file a response in writing within five days of the June 25, 2019 order.

26 (Id.) Defendant did not file a response to the order to show cause.
27          On July 8, 2019, a hearing was held on Defendant’s motion for bail review, after which

28 the order to show cause was addressed. Defendant did not oppose the imposition of sanctions.


                                                    1
            Case 1:18-cr-00056-DAD-SKO Document 67 Filed 07/09/19 Page 2 of 2


 1          Pursuant to the Local Rules of the Eastern District of California, defense counsel in

 2 criminal actions are required to promptly notify the Court if an interpreter is needed or to cancel

 3 the interpreter if a hearing is cancelled or rescheduled. L.R. 403(b). Unjustified failure to notify

 4 court staff may result in the imposition of sanctions, including an order to pay the costs of

 5 interpreter services. L.R. 403(d).

 6          Here, due to the failure to promptly waive personal appearance of the defendant, an

 7 interpreter was ordered and appeared in Court. Defendant has not shown cause for the failure to

 8 promptly inform the Court that the interpreter was not needed for the June 24, 2019 hearing.

 9 Therefore, Defendant shall be ordered to pay a sanction of $147.00 to reimburse the Court for the

10 cost of providing an interpreter at the June 24, 2019 hearing.

11          Accordingly, IT IS HEREBY ORDERED that:

12          1.      The order to show cause filed June 25, 2019 is DISCHARGED;

13          2.      A sanction of one hundred forty seven dollars ($147.00) is imposed for

14                  Defendant’s failure to promptly inform the Court that an interpreter was not

15                  needed for the June 24, 2019 hearing;

16          3.      Defendant shall pay one hundred forty seven dollars $147.00 to the Clerk of the

17                  United States District Court, Eastern District of California, no later than July 31,

18                  2019;

19          4.      Defendant shall file a proof of payment within five (5) days of payment of the

20                  sanction; and

21          5.      Defendant is advised that the failure to comply with this order may result in the

22                  imposition of further sanctions.

23
     IT IS SO ORDERED.
24

25 Dated:        July 8, 2019
                                                           UNITED STATES MAGISTRATE JUDGE
26
27

28


                                                       2
